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                        EXHIBIT 11
            Case No. 1:23-cv-03415-GPG-CYC                                      Document 1-11                      filed 12/22/23              USDC Colorado
                                  .I
                                                                                 pg 2 of 5



                                      iree .
                        faDWERED RV F4SROO CREDIT,
                                                                                                        Commercial Equipment Lease Agreement (oLeeseo)
Date as af: 08/09/2019                                                                                                                         Contract No: 00141105566000
                                                                                                                                                 FCL Customer
                                                                                                                                                      Appgeation Noi 83574

                            FARM CREDIT LEASING SERVICES CORPORATION                      ('ESSOR")
                            I/i65 Utica Ave S, Suite 400
                            Mmneapolis, MN 55416

Address far Nogecsi         PO Box 16330
                            Mmneapolis, MN 55416


                            GOOD FORAGF„LLC., WESLEY JAMES WffTMAN ("LESSEE") s(n) COLORADO LLC
                            25605 County Road 62 I/2
                            Greeley CO 80631


                                                                            Kqaipmeat Informarion
                                                                                                                                    Metered Units of Use

     Qty        N/U              Eqaipmeat Descripuon                          Serial Number                  At Delivery      »Max Anneal    Usage Measure   »Excess Usage
                                                                                                                 Date            Usage»                           Rate»

      I          N     2019 MASSEY FERGUSON WR9980                           M99800KHS14165                       79                   300     Engine Hours       25.00
                       Windrower/Swather. Self Propelled

Equipment Locauoai          25605 County Road 62 I/2 Greeley CO 80631
Minimum    Liability lasuraace Requircmeatsi $300,000 general liability for nou-utled equlpmeat; $300,000 automobile liability for sg titled vehicles 16,0000
gross vebide weight (GVW) sad uader, snd SI,N0,000 for ell titled vcbieies over 16,0000 GVW.

I.ence agiam that (i) Lessor may pmvide Lessee's information on a confidential basis to its third-party service provider, which is an institution of the Farm Credit
System, (ii) such third-party service provider msy pmvide the mformstion on a coniidential basis to other Fmm Credit System institutions, or entities controlled or
awned by Perm Credit System Institutions, and (iii) the information may be used by such recipients for credit analysis snd adminisaation purposes ss well ss for dimct
marketing purposes or for any lawful purpose.


                                                                              Term aod Paymeot
     Lease Term        Rental Period/      eatsl Paymeot'otal      Number      Kqulpmeat Cost       Capitalized Tax         otal Kquipmea    Ead of Term      Knd of Term
      (Months)          Fre nese                               of Reatais                                                       Cost             T              Amount
           60                    rl            $6,799.35           20            $ 162,400.00            $0.00               $ 162,400.00        PRO           $48,720.00
 ~ Excludes     applicable sales snd use tax

Completiaa Dale:         09/23/2019

Lease Provisioas (unless otherwise defiaed, capitahxed terms shall have tbe meaaings set forth abave)

I.                         Sub/ect to the terms and conditions of this Lease, Lessor hereby agrees to lease to Lessee, and Lessee hereby agrees to lease fiom Lessor, the
equipment listed above end in any schedule attached hereto or made a put thereof, together anth sfi anachments, replacements, puts, additions, repaus and acccssoncs
snd all additions to such aquipmcnt or affixed thmeto (cofiecavcly, the "Equipment" ). Lessor end Lessee agree that the Equipment is personal property regardless of its
atmchment to realty and that title to thc Equipment shall at afi times rmnain vested in Lessor

2.        f         Upon the expiration of the Lease Term, so long as afi amounts due Lessor have been paid and no event of default has occuned and is continumf.
Lessee shall have the option to, with no less then 90 days prior written notice to Lessor, purchase ag but not less than all of the Equipment, AS-IS-WHERE-IS for a
purchase puce equal to the End of Tenn Amount specified above, plus all applicable taxes.

 Resewal Lease           Base Index        Projected Renewal            Renewal Reatal          Total Namber of
     Term                                   Reatal Amount»              Payment Period          Renewal Reatsls
           12          90 DAY FFCN                $4385.78                  Monddy                      12
»Excludes applicable sales and use tax.

In the event Lessee does not exercise the opuon to purchase the Equipment in accordance vwth the terms and conditions set fonh in this pamgraph 2, tbe Lease shsfi
automatically, without funher schon on the part of the Lessor or Lessee, be renewed for an additional term ss described above ("Renewal Lease Term" ) and projected
rental amount, as described above ("Projected Renewal Rental Amount" ), which amount shsfi be sd/usted as provided herein The Pmjected Renewal Rental Amount
has been indexed to the financial instrument yield described above ("Base Index" ). In the event such financial mstrument yield determined ss of nmety (90) days pnor
to the expimtion of the initial Lease Term ("Actual Index" ) differs fiom the Base Index, the pmjected Renewal Rental Amount shall be adjusted, upward or downward,
based upon the dilference between the Base Index and the Actual Index. Such adjusted araount shall be the "Renewal Rental Amount" for purposes of this Lease. In the
event such tinancial inslrument yield cannot be dmermmrd for purposes of calculating the Renewal Rental Amount, thc Base Index and the Actual Index shall be the
yield on 0 United States Treasury issued note of like or comparable duration as the financial instrument descnbed ss part of the Base Index above

The first Renewal Rental Amount shall be due snd payable by Lessee on the dsy of the initial Lease Term expiration and shall conunue to be pmd an the same day of




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                                               omr6H»a»a
                                                                                                4
                                                                                     Ca»eem ¹ooi 4 0SSS0400                                                              Alga i ar 4
                            ammo»ma»»mr
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Upon expiration of the Renewal lease Term, Lessee shall return the Equipiaent to Lessor in   ~
the first month of each subsequent Renewal Rental Payment Period (or the same day of each subseqan
Period) until the Total Number of Renewal Rentals provided above have been paid.

                                                                                                    wik de tenne of tbe lace applicable to Se

hundnxl eighty (180) days prior Io the expiration of ihc Renewal Lease Tenn. Lcssec amy pwcbsse eg. het net less den eg, of Se
an emmmt equal to iis then fair market value plus ag applicable taxes.
                                                                                                                                             ~
                                                                                                            month m Se case of a muchly Rcncwal Rennd Paymeat


                                                                                                                                                     er so
long as ag amounts due Lessor have been paid. no event of dekult hss occurred and is cauinuing. and leswe shag have giwe Lceor wriitre naSa st least anc
                                                                                                                                        AS-IS-WHERE IS, flx.


ln de event that, st the expiation of the Renewal Lease Term, Lessee hss not purchased or manned Se Equipment, Lcner shag be entitled to monttdy holdover
rentals each in sn amount equal to the Renewal Rental Amount (pw-rated to a monthly anount in ge cae of a quatsA. semi-aanuel, aaaual or oder Renewal Renal
Payment Period). Tbe preceding scntcnoe shall not in any wsy limit Lease's right to cxacise any default rigbe snd emedics as aypliakle.

'3.
at the Equipment Lecation, spcciscd above. Lessor shag not bc liable to Lcsscc with nnpact m any dray



                                                                                                 ~
                                                                                                               s
                                                                                                                                            ~
                                                           Losses shall arrange with thc applicsNc wnder ("Vendor') fla Se driivay and ienaNske of the Eqtdpmcnt
                                                                                                                 or sgeu of daivay of de Equipesrn Tle Lease
commcncanent Date" for the Equipmcnt shall be de date ths Equipeent is delivered and eoesytak as ocnlinned by Lcsscc below. Inssee rcprsmrw and wanams that
as of such date, thc Equipment has lean delivaad to Lessee, lessee has unconditionally accepted thc Equipment sud Lcsscc cymes that de

purchase price. Lessee agrees that if ag of the items of Equipmcnt have not been delivewd and
                                                                                                                                                     is subject to this
Lasso Leases authorizes Lessor to pay the Total Equipment Cost ss sst fonh above disacdy w de Vendor of the Etpdpman to Sa coen of tbe unpaid balance of ths
                                                                                                         hasunder oa or bcfow de companion Dsw set fluth above,
Lessor shall have no obligation to lease tba Equipmcnt to Lessee, and Lcsscc shall purchase flom Lesser ge items of Equipaas kan subjwt ts dus Lease wflhin Sve
days sflar Lessors demand for 0 pric equal to Lcssok cast of such items plus 0 finance cost of $250 plus ery applicelde was ael ase Iai an such sata




                                                                                                                                                       ~
4.                                    This Lease shag ba eEectiva on the data it is accepted in wribag by Lneor. Ths lcesc Term shall begin an tbc Lease
Commencement Date. Lessee shall psy rent as specified above, with the Nmt Rrmtsl payment bchqt dus an Ss Lease Coauaawanem Dac Sr tbe Swt Renal Perial
Eah subsequent Rental payment shag be due on the nuns dae of thc Smt month of cack Sgowing Renal period, pwvided, however, tbsi Lcew st its option may
specify another day of such month for subscqucnt Rental payment (but without changing tha cxpinnion ef de Lease Tenn), in which cess Lessor shag adjust
subsequent Rental Payment amoums up or down to mainndn tha same total return to Lwsor over tbe Lease Tenn. If ery patman, whether for nat or       is nat
paid when duc, Lacer may impose s late charge of l. 5% psr month of the amount pas duc (ar ge maxuaue smeen pnailtadby law, if less).

5. )5SLLdws This Lease is a nst Isaac and may not be canccgcd or taminatcd except es pwvidcd benin. LcsseA obligstivm to persnn
                                                                                                                             '
                                                                                                                                    ia obligetkne cnd psy ag nmt
snd oder amounts required to bs paid by Lessee hasunder, wigeut notice of demand fico Lesser, shag be absolae ael                  and shag not bc subject to any
abatement, reduction, ramrif, defense, countaclaim for sny reason whetsasvcr, inriuding wigeut linitstie any Silec of 0» Eqnpment er any m                     en,
breach of warranty, neglect, er failea by vendor or its rspwscntatives, and leases shell make no daim on socaunt ihaaof aptkun Lesser snd shag.
rent snd otherwise pcrfonn ag LcsseA obligations haaunder.

6.


              ~                                                                                Lance agwas det the Eqepment will only bc used m thc LaneA tmdc
or business for legal business and commacisl purposes. wideut Lceors prior wrinat conswt, Leases shall not (a) subht ths Equipment, (b) sssigtx nansfcr or
othawisc dispose of this Lease, sny Equipment or any interest kswin, or crests or sulfa any levy, lien or                 deems oker den cny lian or atmunbnmcce
created by Lessor, or (c) remove tha Equipmcnt flom the Equipment Location specified sbtme. Thc Equipment wiN le epaaiad hy mapcient and qualiflcd pasaecl
                                                                                    egulatkw atd applicable innneec yolicies. Lessee shell make Se Equipmcnt



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only and in               with spplicablo  pereting insnuaions, laws, govcmment
available for inspection by Lassok represesatives during LessaA normal business bmus. Lcssac, st ia cxpeae, shag kccp de Equipman in good repair, condition
and working onler, in full complisnec with all applicable manuflenners'ecommendadens,       enlinsry wear and tsar exorpnri subject io ths limhekae pnniided hacin,
and Lessee shall not misuse or abuse thc Equipment. Upon de expiration of the Lease Tam ar any Rcaewal Tens if Leases doss net eaacisa ary pechssc oylion
provided in this Lease, or uyon demand by Lenmr pursuant to
Equipmcnt to such location ss lamer esy spa:ify at Less@A expense; (ii) wtum ag applicable numueh and              'cmds
                                                                             13, Lessee, unkss ekarwise dimmed, shall; (i) immadinely crabs inneu snd ship the
                                                                                                                                     to Lessor, and (iii) psy to Lessor
immediately uyon demand ag charges incunad by lanor to repair any cxccssivc wsa end iwr and Sr sny uegs in excess ef de Maximen Annual Uwga                       a  Ihc
Excess Usage Rna specified basin. Equipmcnt returned to Lessor shall be in de following condition upon delivery         a  Lamer. (i) AII oaopsnens,      ccsseries snd
festun» flnnishcd with the Equipment will be complete and opaational within ke m                 nscd spcriftccriae as originefly dclivacd; (ii) ke Equipment shag be
ihe of rust and conwion, wehaL clcancd and/or steam cleaned, whaa applicable (iii) each itaa of Equiyecnt will bc in compliance with ag epplknbe safety
standads and regulations; snd (iv) each item of Equipment returned to Lessor shall not have costs to wyair in awcss of $250.00. Excessive waa and Ica shag indude,
but not bs limited to, wear of sny component in excess of 50 percent of the componrnfs ussiul life, bwkat glass, Nuid asks. and cexks, holes. gouges. bends and




                                                                                                             ',
impact damage in thc Equipmcnt or any component therein, whether mechanical or ppauenos, inanal or anenal.

7.                                             Lessee assumes ag risk arising from the passession and cpcnsion ofsa   Equqeent. Lamas hacby sgwcs to 'adaaaify sud
hold Lessor luumless from and agaian any snd ag claims, losses, liabilities (including nayigsnca, tat and stria liabilhy), daaages, jdgmennx suits atd ag Itqtd
                                                                                                                       e

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pwceodings, and any and ag rusts and expenses in connection therewik (including ttcincyd fccs) aising out of or           ary manner ceacctcd wik Se
purchase, ownership, delivery, rejection, nondelivery, transpsrtation, possession, uss, stnmge, opemtion. condition,                aysir, rearm, er other disposikm of
the Equipment or with Sis I.ease, including without limitsbon, claims for injury to or desk of pasons and Sr denage Io ywpaty. and give Lessor ymmpl nobce of
sny such claim or liability. No loss or damage to ge Equipment shall rclicvc de lessee of ks obligndae haaundcr. Tle pwvisians of Ibis Peagwph 7 shag sarivo
expiration or termination of this Lease. In thc event the Equipmcnt is ineparably damaged, lost, stoics, er            Lessee will uotgy Lessor widun dme days of the
event. Leases will provide Lanor evidcncc of such loss and pay Lessor tha Casually Lass Value whhin dety days of tha kiss. Tha Casualty Loss Value shag be an
amount equal to the sum op. (I) any accrued snd unpaid rentals up io the date Lessor wcsiws leaeA Carnally Lass Value payment; plw (ii) auy hsa charges, use ae,
properly tsx, or any other charges, flns or taxes due or det may be oome due in aceonlanca with Ibis lease; plus (iii) the yemen value ef ag fineo icntah wserved in
Se Lease discounted at a rate eqwl to the nue of return which the Lessor would have walised had 0» Lease of Se Equipment been in tdket fln Se entha Lease Tenn;
plus (iv) the present value of the anticipated residual value of the Equipment at the expiation of the Latm discoettrd a  a nno equal w ge me of mann which lcnwr
would have realized had dds Lease bean in eifect for ths entire Lease Term. Upon LcssaA woript of such pay ecnt, Lease shag le asnhd m waun psenss'on of thc
aflbctcd items of Equi pmcnt and the lease will lerminata with respect to such Equipment. In Ihc event get ge (mesc cmmuns    eac   than a single iem of Equipman. Se
Renal Payments dus hercunda on thc remaining Equipment following thc termination shall be wdwed prosate an dw basis of whsive Equipman cast.

5, Ineuvcuee. Lessee shall et its own cxpansc obtain and maintain during ge tenn hacof, on or wis wrpsa Io Ihc Equipeea (0) physkzd dsmago iasurncc i@su™g
against lass or dansge to ths Equipment in an amount not lass then ke full wplaccmcnt valeu of Ihc Equipment atd (b) liabiliy htzeunoe egtdnst lktbgky for bodily
injury and pwpcrty damage in ths amount shown above. Lessee shag ilunish Lessor with s catiYicate of inseancc evidescing Se issuexn of a policy ar policiw to
Lessee in st least Se minimum amounts spwiflrd by Laeor naming Lessor as an additional insuwd hacunder Sr ge liability ocvautat snd as hiss payee for Se




                                                                                                                                            ~
pro paly damage covesgc snd, shag indicate tlzn such insumnce cannot be cenceged, or altaud wikan at Hast 30 days prior wrinen nance Io Lessor. Each such policy
shag be in such form and with such insures as may be setiskctay to Lessor. If Icssce fails to pay insunece wquiwd to be pnmdad by Lesscc under this Lease, Lease
may, but is not obligated to provide such insurance. Lessee shag, upon demand reimbesc Lesser for any owns, fees, or axpcnws incuncd in ywviding such inenawx
Payments for any loss or damage to the Equiprocnt shall be by check or drafl payable to Lease. lessor may eekme LancA name tbenen as LesssA egret

R           Lesscc agrees that it hss elected the Equipment snd Vendor based upon ia own jndgeca eml disdains any wliame upan aay sasancms or
representations  by lessor LESSEE ACKNOWLEDGES THAT: LESSOR IS NOT THE MANUFACTURER
                  made                                                                                       OF THE                 NOR TIIE
MANUFACTURER'S AGENT NOR A DEALER THERHN; THE EQUIPMENT IS OF SIZF DESIGN. CAPACITY, DESCRIPIION, AND MANUFACTURE




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              ~
SELECTED BY LESSEE; LESSEE IS SATISFIED THAT THE EQUIPMENT IS SUITABLE AND FIT FOR ITS PURPOSE; LESSOR HAS NOT MADE AND
DOES NOT MAKE ANY W                       EITHER EXPRESS OR IMPIJED AND HAS NOT W                           THE MERCHANTABIUTY OF THE EQUIPMENT
OR 11S FITNESS FOR ANY PARTICULAR PURPOSE; AND I.ESSES LEASES THE EQUIPMENT AND TAKES SUCH 'AS IS" AND WITH ALL FAULTS.
Lessor hereby assigns to Lessee, for de dumtion haeof, all waranties received by lessor with mspsd lo de Equipment to thc anent emkpebk and Lessor shag leva
no obligation

10.
                         to make any daim on such wananty.
                                                                    To the anent det ge iaee shauld be ccnstned as a lease headed as saauity, ar oderwisc, Lease
haeby grants Lessor a security inteaat in the Equipmsnt and all precede thcrcof (induding inauance pmcacds) to seaae sg aewaas due haeundcr. Lcascc also
author'aes Lanor to sle any Uniform commercial cade ("Ucc") financing sslsmaus whhout LesscA ashcntianion Io pafcct de Sueyung saceity iausesi The
Lessee agrees that if Ardclc 2A of tha UCC applies to this Lcsss, this Lease will ba amsidaed a 'Finance Lane's dmt lcnn is dcgned in Arbde 2A.

11.                                                                               Lessee ahariacs Lessor lu sweet thc Equipacm Cast if ge aaual cwa cf de
                                                                                    wriuen




Equi pmcnt is more or less the the Total Equipment cost shown on the Iina page of dtis Loose end aljust lhs Rental paymaa (es wcs ss 0» Eud of Tens Amwua snd
any other amount dTectcd by de change in Equipment Coe) up or down to provide tha same yickl to de Lessor as woukl have bccn obauned if tie ackel cast kd been
Iha same as lhc Total Equipment cost Adjustmans of il% or less msy be sade by              notic sum Lessor to Lessee. Adjusueaas of mwe dcm 10II shall bc made
by execution of an amandmcnt to this Lease rsgecting de applicable changes. Lesscc Ihnhcr auderixcs Lessor to (a) inset in shia Leuc the serial mmler, and/or
madel numbers of the Equipment if unknown st de tune this Laces is cxccutcd, mnect any enws in such numbcw reflectad in dus Lese at Se bne dtis Leam is
                                                                                               a
executed, (b) wariet sny other erma in de description of thc Equipmcnt reflcctcd in BS Lese de time this Lcssa is cxcadcd; (c) fdl m Nunks exisdag ia dus Lease
at the time of Lane is executed: and (d) conect any pstcnt snws in this Lcasc.

12.                         lbs Lames shag bc in default hereunder upon ths occunenas of we er mwe of de fogowing cvcntx (e) Lessee gdk to pay when duc ary
haeundcr or violates any of the covenants or represenstions made by Lessee herein snd swh guhue or keech shag oontime                   'ar
rent or other amount faiuked to bc paid by Leases hereunder or ihils to maintain any hmnanm mquinsd hase+der, (b) Lessee Ihils Io perform aay Cger pmvisiwe
                                                                                                                                                 a peried of 10 days agw
borrowed macy or dcfcned purchase price of propany; (d) the crmdiuon of       ~sj
wrisan notice to Lasses; (c) Lessee shell be in default under eny other agreement bawccn Lessor and Lessee or under sny maerial abliynion to a Ihud party Rn

risk involved; (a) without LessoA prior wrinen consent Lessee (i) changes is name,
                                                                                        aigurs shell so change
                                                                                         isdictnm of
                                                                                                           '
                                                                                                               as to, in Lcssofs
                                                                                                                   cr
                                                                                                                           '     judgment, nudaiaRy imaeese de aedit
                                                                                                                                     sbuchae,(ii) aarye or consolidstes
with any other orymization, (iii) terminates is cxistcncs, or (iv) amveys or leases subssmrisgy sB of its asses to any pcawr, (I) makes m aniyeaaa for de bencfil of
creditors, or a uustss or mcciver is appointed kr Lcsscc or for s subssatial pan of LesscA pmpaty; (g) a psliuon is fied lfy or agama Lessee or any gusnnan uadar
Title 11 of the United States Code or any other Federal or State bankruplcy or in solvaey law, ar any yauentsr shag bc m dcfcuk mdar Ihc ssms of Se applicable
goasuty. Alql fsilinc of Lessor lo regula stflct pcffwnenm by Lmsm of my wsivcf Ify Lcssw of ally pnwlslcii ill thc Lwm %III let bc conmucd ss ~ cmscnt
        of any other beach of ths seas or sny other provision,                                                                                                       ix'aiver




 13. EBSBEsb If tie Lessee is in default hsrcundcr, Lessor shell have the right, in its sok dhxctian, e     cxcmbc any om er mwe of the fogwvmg mmcdics: (a) cancel
the Lease with respect to any or all items of Equipment, or terminate Lessee's right io pcasesme of the Equipment without ierminsring this Lasso, (b) nqessess thc
Equipment without demand or notice, and without court onler or legal proceeding, and sdl or ksse the Equ'pment or athcrwim dispose, hoM or use such Equi pmaa at
Lessor's disaetion; (c) recover fiem Lessee ag rent and other amounts then due and to becoac dm haeundcr. (d) nuomr Bom Lames ag of LasoA cwas ead
expenses (including legal expenses snd Cttwucys'ees) in enforcing this Lcasc; (e) avail itself to my other mncdy available at law or in oiuhy. indudiag but not
limited to seeking damages, splcific perkrmsnce or an injunction; snd (f) recover &ea lessee as liquidasxl damages an amount equal lo the sum og (i) aay accrued
and unpsid rensls ss of thc date the Lessor obtains possession of the Equipment fdlowing LssseA degmlt         ('                Bete"2 plm (ii) the pmeat value of as
future rentals rcscrvcd in thc Lease snd amnacted to bc paid over thc unexpired term of de Lease aal ge pissant valm of de anticipated mudual value of de
Equipment st the expuation of the Lease, dismuntsd at a mte equal to thc six (6) month US. Tnnmny Bill me as of the                         Dale; plus (iii) sg cans and
expenses incuned by Lessor in any ieporsession, mcovery, storage, repair, sale, re-hase, or «dm          'ositien of de Equiiman mdudiag feaswebk sttwnefs fees
resulting dura lhe Lessee's dcfculq less (iv) the amount meived by Lessor upon saic or ie.lease of de Eqdpmcak if any. In lhc event det it is daamiard ager a




                                                                                                                    ~
default tlua Lessor is entitled to thc pment value of any damages owed to Lwmr, the discouat site shell be cqml m de six (6) moath U.S. Tresswy Bill nae as of de
Repossession Date. Lessor's rights and mnedies haeunder or by law shall be cumulative snd in akMon to ag ether rigbs snd nmedies snulsbk io Lessor. Lessom
failure to strictly enforce any provisions of this Lane or any other right available to inmof shall not be consuued as a waiver ganef or as excusing Lease fram Iiaulc
pclfoflilslicc.

 14. Tasnb Lcssm shall pay when due, be responsible for snd reimbwse Lessor for sg charges, laxcs, gns and                     (haeaRcr 'Tmcs') kutesaL kvicd
           by any govemmenid body, authority, or sgaacy (aleeger "Tax Jurisdiction', miuual to be yrid or cogecud by Lesser, on er iekgng Io de Eqripmad
                                                                                                                                                                     a'ssessed




leased hereunder and the sale, purchase, rental, operation, maintenance or use thaeof (exduding sny tsxcs an or measured by de nct iacsme or capiad of Lessor)




with assessment authority under its governing law. Lessee shall also reimbuac Lessor any sass sad eqnnses inmmed by Lesser (iaduding casonake           ~
together with eny penalties or intacst applicable themto, whether the same be payable by or asscsscd to Lance or Lessor. Lessor shall aport sny and ag neessssy
information for assessment of the Equipment regarding Taxes io the Tax Jurisdiction(s) idcvant to de akhcss specified in this Lees, or eay ogux ahban of which
Lessee hai notified Lessor in writing. Lessor is under ne obligation to notify Lessee of, defend against, mr cwaest any sscsuucm imposed by any Tex Jaisdiaion(s)

ss a result of Lessee's fsi lee to reimburse Lessor for such Taxes. Lessee will also mimhme lzusor for sny sscneble casa mewed for de acmmae mscsmea af lhc
Equipment; however ihe Lessor is not obligatcri under this Lease Agreement to skc any schon an either de Izusee's or LcsssA behalf The pmviuons of this
Paragraph shall survive ibc cxpmuion or termination of this Lease.
                                                                                                                                                             Res),



15.                                                                          Lessee hereby frpfsmna and wsnms thaL dkcrive on Ibe dca on which Lessee ezecuscs ibis




                                                                                                                                 ~ ~
Laces: (s) if Lessee is a ptncrship, corporation, limited liabiliy company or other legal entity, (i) de name. type and suae of thc         'uucd above is comas,
(ii) the Lassie iS in gOOd standing under the laws of its state of organization or Lessee is net subjaa io aay such igsmtiaa icquhement, aad (iii) the cxecurion aad
delivery of this Lewe and the perfonnance of Lessee's obligations hereunder have been duly cudefhed by ag ecesssry acean an de pat of the Lames; (b) lhc peaon
signing the Lease on behalf of Lessee is duly        thorizsd; (c) all information pmvided by Lessee lo Lessor in onnecuoa with this Leam is oue cnd conect m ag




                                                                                                          ~
material respects; and (d) this Lease constitutes c legal, valid snd binding obligation of de Lessee, enfauaskc agaiea Lessee h            wbb is terms. Lessee shag
notify Lessor before changing its slate of organization. Upon request, Lessee syees to pnmptly Snnish Lesser with LesssA amual canfied Ensncisl                    in
                                                                                                                          '
form. substance, snd detail reasonably satisfactory to Lessor. Lessee further agnes to fwnsh Lesser widr cger Ensac'el              as Lessor may cssnably request.
If Lessee does not have certified financial statements available in the normal coune of business, Lessee shall pmvide lzxsw with amuel uncenificd financial
statements that accwately reflect Lessee's financial condition, in form, substance, snd detail cssnnsby                io taxer and induding copies of LessoA maa
recent federal income lax returns.

16.                     This Lease, together with any schedules, exhibits, and addenda haao, camenae the cnrim aycancnt bremen Lessor snd Lcssec and may be
modified only by s written instnsnent signed by Lessor and Lessee. The headings h dus tasse have been induded far csee of fctbmum oaly snd shag not be




                                                                                             ~
considered in the construction or interpretation of this Lease. In the event thee is mwe den enc Iznsm naucd In dtis Lease. the abliyamas of ecch shall be jomt and
sevauL This Lease shall be interpreted, construed snd enforced in accordance with the laws of de   Sss    af Mhucsok No Vcador ar agent Ihenef is mshorizcd to bind
Lmnor or waive or modify any term hereof. If any pmvision of this Lease shall be held to be invalid, illegal or uacnfamcsble, de validky. legality and cnfwceabgky of
the remaining pmvisions shall not in any wey be afFected or impaled therdry. Lessor shag have lhe right m scg or assign is insmut er yant a seaaity inksest ia its
interest in this Lease and the Equipment. (Lessee agrees izusor may provide LesseA                lo ils ilmd party service pnwider snd said lhbd pwty service pmvidcr
may use the information for any purpose.) LESSEE HEREBY WAIVES ANY RIGHT TO A JURY TRIAL WllH RESPECT TO ANY MANNER UNDER OR IN
CONNECUON WITH 1HIS LEASE. TIME IS OF THE ESSENCE WITH RESPECT TO lHE OBLIGATIONS OF LHSEE UNDER TIES LEASE llus Lease msy
be executed in counleqmns, each of which shall constitute an onghwl, but sll of which when shm together shall consnuuc a siagls contuse Ddivay of m misease




ccmvmmw nculsmcnl ivciv Aumvmvm (of/zflzois)                                  cicllcm ael otcsscoae                                                              csazvf 1
Alpl 3 mumm~ms             vmmvmvF
             Case No. 1:23-cv-03415-GPG-CYC                                     Document 1-11                   filed 12/22/23                    USDC Colorado
                                                                                 pg 5 of 5
counterpart    of a signature page of tlus Lease by facsimile or email shall be as effective as delivery of a manually executed counterpart of this Lease.
17. [Reserved.[
18.                          Lessee represents and wanunts that; (a) Lessee hss not claimed and will not claim any tax credit, cost recovny, depreciauon or other similar
um benefits with respect to the Equipmcnt; (b) Lessee hss no right, title or mterest m or ta the Eqmpment, except that given herem, (c) Linsee will not use the
Equipment outside of the United States, (d) Lessee vwfi take all acnons necessary, including actions requested by Lessor fiom time to time, to perfect the tax ownershp
m the equipment, snd (e) Lessee will not commit an act that would impair Lessor's nght to claim afi or any ponion of sny tax benefits in regard to the equipment 'Ihe
Lease hss been entered into on the basis that Lessor as owner of the Equipment, shall be entitled to such deductions. credits and other benefits ss sre prowded by
Federal snd state income tax laws and the regulations thereunder to sn owner of property (the "Benefits" ), mcluding without limitation any tax credit, deductions for
accelerated cost recovery and depmmation with respect to the Equipment. If Lcrsor or any assignee shall lose any Benefits, there shafi be disallowed or eaptturrd sny
portion of the Benefits with respect to the Equipment, or if Lessor's originally contemphued afier-tax return is othmwise adversely affected (a 'Return Impairment"), as
a result of sny acts or omissions by Lessee, the inaccuracy of any certificate, representation or womanly of Lessee hemunder or the effechveness of, or any change in.
any law, regulation or the interpretation thereof, Lessee shall indemnify Lmmr by payment of an amount ncccrssn, efier deduction of afi taxes required to be pmd by
Lessor with respect to the receipt thereof under the laws of eny Federal, slate or local government or taxing authority, to permit Lessor to recover (on an afier-tax-basis
over the full term of the Lease) the same return that Lessor would have realized had there not been a loss, recapture or dissfiowance of such Benefits or a Return
Impairment, together with the amount of any interest or penalties which may be assessed by the government authorities with respect to such loss, recapture,
disallowance or Return Impairment, payablc at Lmsor's election, either as (a) supplemental     rent to Lessor dunng lhe remaining period of the Lease Term, or (b) a lump
sum, payable on demand to Lessor.

IR [Reserve&[
2& [Resene&[

21. [Reserved.[
22 [Reserved.[

23 [RcsclvwL[

NOTE: AT END OF LEASE TERM, YOU MUST PURCHASE THE EQUIPMENT OR RENEW THIS
LEASE. SEE PARAGRAPH 2.
Agreed aad Accepted


Lessee: GOOD FORAGE                  C
                                                                           Claytoa A Goad                                         President
                                                                                  Nme                                                 nro

Lessee: W SLKY JAMES                ITTMAN

                                                                       Wesley James Wittmsn                                      ladividual
                                                                                  Nssm                                               lvk



                                 e*ALESSEE TO                                    WHEN THE EQUIPMENT IS DELIVERED.*e*

   Lessee hereby certifies that the Equipment descnbed above wss deliveml to and received by the Lessee on the date below, and is accepted for afi purposes under
   this Lease.



      Date Equi pmeat Delivered (nLease Commeaeemeat

      Lessee: GOOD FO
                                                                               Dateu)t      4
                                                                               Clayton A Good                                        Presideat
                                                                                     Nmw                                                    1st

   Lessee: WESLEY J               SW

                                                                          Wes     James Wittmsa                                      lndividasl
                                                                                     N                                                   rsl




This Commercial Kquipmeat Lease Agreement is hereby agreed to sad accepted by lessor.

Lessor: FARM CRKD              LEASING S               CKS CORPORATION
By:



                     F    Cmmnmhrarmm
                                                                     Deme Saville
                                                                         Fmm   C~l   ~     Num                               F tm Creel rvlwlm rmr




clsnmvrmsl    semsmssl tease Aoresmssl (orlztlzol 8)                               Ccnllsm m$ 141100060000                                                           nu4441 4
